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                                                                                              E-FILED
                                                               Monday, 17 August, 2015 03:23:58 PM
                                                                      Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

JOSHUA HOSKINS #R-54570,                            )
                                                    )
       Plaintiff,                                   )
                                                    )
       vs.                                          )      No. 15-1181-SLD
                                                    )
RANDY PFISTER, et al.,                              )
                                                    )
       Defendants,                                  )

    DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
        COMPLAINT PURSUANT TO THE MAY 18, 2015 MERIT REVIEW

       The Defendants, TIMOTHY LYLE, ARMANDO PINA, JEREMY OLSON, and

SHAWN ROSENBERGER, by and through their attorney, Lisa Madigan, Attorney

General of the State of Illinois pursuant to Local Rule 12.1 and 16.3, hereby file the

instant Answer and Affirmative Defenses to Plaintiff’s complaint pursuant to the May 18,

2015 Merit Review [d/e 7], stating as follows:

                                  STATEMENT OF CLAIM

       1.      Plaintiff states a claim for failure to protect in violation of Plaintiff’s Eighth

Amendment Constitutional rights.


       RESPONSE: Defendants deny failing to protect Plaintiff in violation of

Plaintiff’s Eighth Amendment rights.


       2.      Plaintiff states a retaliation claim in violation of Plaintiff’s First Amendment

Constitutional rights.


       RESPONSE: Defendants deny retaliating against Plaintiff in violation of

Plaintiff’s First Amendment rights
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                                           REQUESTED RELIEF1


           Defendants deny that Plaintiff is entitled to any relief.


                                                JURY DEMAND


           Defendants request a trial by jury.


                                         AFFIRMATIVE DEFENSES

           1.      At all times relevant herein, Defendants acted in good faith in the

performance of their official duties and without violating Plaintiff’s clearly established

statutory or constitutional rights of which a reasonable person would have known.

Defendants are, therefore, protected from suit by the doctrine of qualified immunity.

           2.      Plaintiff filed this lawsuit concerning prison conditions while in the custody

of the Illinois Department of Corrections and failed to properly exhaust administrative

remedies prior to filing his suit. Plaintiff’s suit is therefore barred by 42 U.S.C. 1997e(a).

           3.      Plaintiff’s claims for money damages against the Defendants in their

official capacity are barred by sovereign immunity.

           4.      To the extent that Plaintiff’s claims seek injunctive relief not intended to

address an ongoing constitutional violation, his claims are barred by the Eleventh

Amendment and Sovereign Immunity.

           WHEREFORE, Defendants respectfully request that this Court deny the

requested relief.




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    Plaintiff’s Complaint does not specify what relief Plaintiff seeks in this case.
                                                          2
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                                      Respectfully submitted,

                                      TIMOTHY LYLE, ARMANDO PINA, JEREMY
                                      OLSON, and SHAWN ROSENBERGER,

                                            Defendants,

                                      LISA MADIGAN, Attorney General,
                                      State of Illinois,

Brent Colbert, #6312563                     Attorney for Defendants,
Assistant Attorney General
500 South Second Street
Springfield, IL 62706                 By:   s/ Brent Colbert
(217) 782-9026 phone                         Brent Colbert, #6312563
(217) 524-5091 fax                           Assistant Attorney General
Email: bcolbert@atg.state.il.us




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2015, I electronically filed Defendants’ Answer

and Affirmative Defenses to Plaintiff’s Complaint Pursuant to the May 18, 2015 Merit

Review with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the following:

                                           n/a

and I hereby certify that on August 17, 2015, I mailed by United States Postal Service,

the document to the following non-registered participant:

                                Joshua Hoskins, #R-54570
                                Menard Correctional Center
                                      PO Box 1000
                                    Menard, IL 62259

                                         By: /s/ Brent Colbert
                                                 Brent Colbert, #63312563
                                                 Assistant Attorney General




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